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                                    UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MASSACHUSETTS


         GILBERTO PEREIRA BRITO, FLORENTIN              )
         AVILA LUCAS, JACKY CELICOURT,                  )
                                                        )
                                 Petitioners,           )
                                                        )
              V.                                        )              C.A. No. l:19-CV-11314-PBS
                                                        )
         WILLIAM P. BARR, U.S. Attorney General, et al, )
                                                        )
                                 Respondents.           )
         _________________                              )

             MOTION TO EXTEND RESPONDENTS' DEADLINE TO COMPLY WITH THE
                COURT'S ORDER AND FILE A CERTIFICATION OF COMPLIANCE

                Respondents request a 14-day extension of their deadline to comply with pa1t of the

          Court's November 27, 2019 order (November 27 Order) and with their deadline to file a

          notice of compliance. Petitioners oppose to this extension request. Respondents make this

          request in good faith and not for the purpose of delay as set forth herein:

                 1.        On November 27, 2019, the Court granted Petitioners' motion for summary

         judgment and motion to modify the class definitions. ECF No. 88 at 22. In that order, the Court

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         granted both declaratory and injunctive relief. Respondents now request a 14-day extension of

         the compliance deadlines in the following three paragraphs.

                 2.        First, the Court declared that aliens detained pursuant to 8 U.S.C. § l 226(a) are

         entitled to receive bond hearings at which the Government must prove the alien is either

         dangerous by clear and convincing evidence or a risk of flight by a preponderance of the

         evidence and that no condition or combination of conditions will reasonably assure the alien's

         future appearance and the safety of the community. Id. At the bond hearing, the immigration

         judge ("IJ") must evaluate the alien's ability to pay in setting bond above $1,500 and must
